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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

IN RE ENTROPIN, INC.
SECURITIES LITIGATION,

CaSe NO. CV O4-6180-RC

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Pursuant to the Order of Final Approval of Settlement of Class
Action, Order Granting Plaintiffs' Motion for Attorneys' Fees and

Reimbursement of Expenses, and Class Settlement Distribution Order,

IT IS HEREBY ADJUDGED that Judgment is entered dismissing this

class action with prejudice.

DATE= (§)'we?lz¢wg’ M"‘/g»|/C’Q/(r`-

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ROSALYN M. CHAPMAN
UNITED STATES MAGISTRATE JUDGE

R&R\o4-6180.JUD
7/22/08

 

